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           EXHIBIT B
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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                                 :
                                                :
                        Plaintiff,              :
 -vs-                                           :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                                :
 THE MIDDLE EAST FORUM,                         :
 DANIEL PIPES (individually),                   :
 GREGG ROMAN (individually), and                :
 MATTHEW BENNETT (individually)                 :
                                                :
                        Defendants.             :

          DECLARATION OF JONATHAN R. CAVALIER IN SUPPORT OF
        DEFENDANTS’ PETITION FOR ATTORNEYS’ FEES AS SET FORTH IN
                 THE COURT’S NOVEMBER 13, 2020 ORDER

        In support of the Petition for Attorneys’ Fees as Set Forth in the Court’s November 13,

2020 Order, the undersigned Jonathan R. Cavalier declares as follows:

               1.      I am a member of Cozen O’Connor’s Labor and Employment Department

with more than 13 years of experience in labor and employment litigation. I have substantial trial

experience, including as first-chair in state and federal jury trials, and was recently named a "BTI

Client Service All-Star" - one of only 49 labor and employment lawyers featured on this

prestigious, national list based on candid feedback from corporate counsel at nearly 300 Fortune

1000 companies, and which recognizes lawyers who demonstrate superior client focus, have an

exceptional ability to understand their client's business, consistently exceed clients’ expectations,

possess excellent legal skills and depth of knowledge, and deliver outstanding results. I hold a

J.D. from Temple University Law School and an MBA from Temple’s Fox School of Business. I

represent The Forum, Daniel Pipes and Gregg Roman in the above-captioned matter. My regular

hourly rate for matters of this type is $500 per hour, but my contracted rate on this case is $340/hr.
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               2.      In addition to the time entries set forth in the Forum’s Petition and the

Certification of David J. Walton, on November 19 and 20, 2020, I spent an additional 3.6 hours

drafting the instant fee petition, collecting and analyzing the supporting documentation,

performing necessary research, revising the petition and preparing it for filing.

               3.      Pursuant to 28 U.S.C. 1746, I attest under penalty of perjury that the

foregoing is true and accurate to the best of my knowledge.


                                              Respectfully submitted,

                                              COZEN O’CONNOR

                                              BY: /s/Jonathan R. Cavalier
                                                 Jonathan R. Cavalier (PA #206063)
                                                 One Liberty Place
                                                 1650 Market Street, Suite 2800
                                                 Philadelphia, PA 19103
                                                 P: 215-665-2776
                                                 jcavalier@cozen.com

Dated: November 20, 2020




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